
957 A.2d 125 (2008)
406 Md. 138
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Robert John HARRIS, Respondent.
Misc. Docket AG No. 26 September Term, 2008.
Court of Appeals of Maryland.
September 24, 2008.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Robert John Harris, to suspend the Respondent, by consent, from the practice of law.
The Court, having considered the Petition, it is this 24th day of September 2008,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Robert John Harris, be and he is hereby suspended from the practice of law in the State of Maryland for a period of sixty (60) days from the date of this Order, and it is further
ORDERED, that the Clerk of this Court shall remove the name of John Robert Harris from the register of attorneys in the Court and certify that fact to the Client Protection Fun and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-773(d).
